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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION



 CAMBRIA COUNTY EMPLOYEES
 RETIREMENT SYSTEM, individually and on
 behalf of all others similarly situated,

                          Plaintiff,

        vs.
                                                    Civil Action No.: _________________
 VENATOR MATERIALS PLC, SIMON
 TURNER, KURT D. OGDEN, STEPHEN
 IBBOTSON, RUSS R. STOLLE, PETER R.
 HUNTSMAN, SIR ROBERT J. MARGETTS,                  JURY DEMAND
 DOUGLAS D. ANDERSON, DANIELE
 FERRARI, KATHY D. PATRICK,
 HUNTSMAN (HOLDINGS) NETHERLANDS
 B.V., HUNTSMAN INTERNATIONAL LLC,
 HUNTSMAN CORPORATION, CITIGROUP
 GLOBAL MARKETS INC., MERRILL
 LYNCH, PIERCE, FENNER & SMITH
 INCORPORATED, GOLDMAN SACHS &
 CO. LLC, and J.P. MORGAN SECURITIES
 LLC,
                      Defendants.


                               CLASS ACTION COMPLAINT

       Plaintiff Cambria County Employees Retirement System (“Cambria County” or

“Plaintiff”) alleges the following based upon personal knowledge as to itself and its own acts, and

upon information and belief as to all other matters, including the investigation of Plaintiff’s

counsel, which included, among other things, a review of Defendants’ (defined below) United

States Securities and Exchange Commission (“SEC”) filings, wire and press releases published by

Venator Materials PLC (“Venator” or the “Company”), analyst reports and advisories about the

Company, media reports about the Company, and information from the internet. Plaintiff believes


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that substantial additional evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.

I.     NATURE OF THE ACTION AND OVERVIEW

       1.      This is a federal class action on behalf of a class of all persons and entities who

purchased or otherwise acquired Venator ordinary shares between August 2, 2017, and October 29,

2018, both dates inclusive (the “Class Period”), including those who purchased or otherwise

acquired Venator ordinary shares pursuant and/or traceable to the registration statements and

prospectuses issued in connection with Company’s August 3, 2017 initial public offering (the

“IPO”) and December 4, 2017 secondary public offering (the “SPO”) (collectively, the

“Offerings”). This action asserts violations of the Securities Act of 1933 (the “Securities Act”)

and the Securities Exchange Act of 1934 (the “Exchange Act”).

       2.      Venator is a global chemical company primarily focused on the development and

production of titanium dioxide (“TiO2”) and performance additives, including functional additives,

color pigments, timber treatments, and water treatments. Venator ordinary shares trade on the

New York Stock Exchange (“NYSE”) under the ticker symbol “VNTR.” Prior to the IPO, Venator

operated as a division of Defendant Huntsman Corporation (“Huntsman”).

       3.      Prior to its spin-off from Huntsman, Venator operated a major TiO2 manufacturing

facility in Pori, Finland (the “Facility”). The Facility’s output constituted a substantial percentage

of Venator’s business.

       4.      On January 30, 2017, the Facility was engulfed by a massive fire (the “Fire”). After

the Fire, Huntsman assured the public that the Fire had been “quickly” extinguished and that the

Facility was “insured for property damage as well as earnings losses.” Huntsman also assured

investors that it was “committed to repairing the [F]acility as quickly as possible.”




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       5.       On August 3, 2017, less than eight months after the Fire, Huntsman spun-off

Venator by completing the IPO. In connection with the IPO, Huntsman raised $522 million in

proceeds by issuing more than 26 million shares at a price of $20.00 per share.

       6.       In the prospectus and registration statement issued in connection with the IPO (the

“IPO Documents”), Defendants made various statements downplaying the damage done by the

Fire. Specifically, the IPO Documents assured investors that Venator was “committed to repairing

the [F]acility as quickly as possible” and that the Company expected a gradual return to

functionality, with the Facility being restored to “approximately 40% capacity in the second

quarter of 2018; and full capacity around the end of 2018.” The IPO Documents also stated that

the Facility would be repaired with insurance proceeds and within the insurance policy limits.

       7.       While later admitting that the cost of repairing the Facility would exceed the

insurance policy limits, the Company continued to downplay the adverse impact of the Fire in its

prospectus and registration statement issued in connection with its December 4, 2017 SPO (the

“SPO Documents”) (together with the IPO Documents, the “Offerings Documents”), which raised

$533 million.    The SPO Documents reiterated that the Company still intended to “restore

manufacturing of the balance of [the Facility’s] more profitable specialty products by the fourth

quarter of 2018,” and reassured investors that the escalating costs related to the Fire were primarily

due to “prevailing strong market conditions.”

       8.       Throughout the Class Period, the Company continued to issue misleading updates

in investor presentations, conference calls, and SEC filings—suggesting that the Facility would

be, and was being, successfully repaired.

       9.       Notwithstanding these representations, investors began to learn the truth of

Defendants’ misleading statements through a series of disclosures. For example, on July 31, 2018,




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the Company revealed that the Facility was much more severely damaged by the Fire than had

previously been disclosed.      Specifically, the Company admitted that “a full rebuild and

commissioning may require more self-funding than [the Company’s] previous estimate of $325 to

$375 million.”    On this news, the price of Company shares declined $0.73 per share, or

approximately 4.8%, from a close of $15.35 per share on July 30, 2018, to close at $14.62 per

share on July 31, 2018.

       10.     Later, on September 12, 2018, the Company informed investors that it was now

abandoning its attempts to repair the Facility because production capacity at the Facility had not

meaningfully improved since the Offerings. Defendants also admitted that, due to this decreased

capacity, Venator was no longer a leading producer of TiO2. Additionally, Defendants announced

that the Company would incur up to $150 million in additional costs to close the Facility. On this

news, the price of Company shares declined $0.54 per share, or approximately 4.8%, from a close

of $11.35 per share on September 11, 2018, to close at $10.81 per share on September 12, 2018.

       11.     Then, on October 30, 2018, the Company disclosed that, in addition to more than

$500 million in Fire-related costs and lost business covered by the Company’s insurance policy,

the Company incurred an additional restructuring charge of approximately $415 million and would

incur further charges of $220 million through 2024 related to the closure of the Facility. On this

news, the Company’s share price declined $1.53 per share, or 19%, from a close of $8.00 per share

on October 29, 2018, to close at $6.47 per share on October 30, 2018.

       12.     This action alleges that Defendants’ Class Period representations, including the

Offering Documents, were materially false and misleading because they failed to disclose that:

(1) the Fire was far more damaging to the Facility than had been represented to investors, resulting

in over $1 billion in damage and rendering the Facility beyond repair; (2) the damage to the Facility




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exceeded the Company’s insurance policy limits by hundreds of millions of dollars; (3) the

Company had lost, with essentially no hope of restoration, approximately 80% of the Facility’s

TiO2 production capacity; (4) the Company incurred tens of millions of dollars in costs in

connection with attempts to repair the Facility; (5) the Company’s reported annual TiO2 production

capacity was inflated by approximately 15%; and (6) as a result, the Company would incur over

$600 million in restructuring expenses and other charges associated with the closure and

replacement of the Facility.

        13.    As a result of Defendants’ wrongful acts and omissions, Plaintiff and other

members of the Class have suffered damages in the form of the precipitous and sustained decline

in the price of Venator ordinary shares since the Company’s IPO.

II.     JURISDICTION AND VENUE

        14.    The claims asserted herein arise under Sections 11, 12(a)(2), and 15 of the

Securities Act, 15 U.S.C. §§ 77k, 77l(a)(2), and 77o, and Sections 10(b) and 20(a) of the Exchange

Act, 15 U.S.C. §§ 78j(b) and 78t(a), and the rules and regulations promulgated thereunder,

including SEC Rule 10b-5, 17 C.F.R. § 240.10b-5.

        15.    This Court has jurisdiction over the subject matter of this action pursuant to Section

22 of the Securities Act, Section 27 of the Exchange Act, and under 28 U.S.C. § 1331, because

this is a civil action arising under the laws of the United States.

        16.    Venue is proper in this District pursuant to Section 22 of the Securities Act, and 28

U.S.C. § 1391(b), because certain of the Defendants reside, are headquartered, and/or maintain

substantial operations in this District. Defendants’ wrongful acts also arose in and emanated from,

in part, this District, including the dissemination of materially misleading statements in this

District.




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        17.    In connection with the acts, conduct, and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including, but not limited to, the United States mail, interstate telephone communications, and the

facilities of the national securities exchange.

III.    PARTIES

        A.     Plaintiff

        18.    Cambria County, as set forth in the accompanying certification, incorporated by

reference herein, purchased Venator ordinary shares at artificially inflated prices during the Class

Period and traceable to the IPO and SPO, and has been damaged thereby.

        B.     Venator

        19.    Defendant Venator is incorporated under the laws of England and Wales, with its

principal executive offices located at Titanium House, Hanzard Drive, Wynyard Park, Stockton-

On-Tees, TS22 5FD, United Kingdom. Venator Americas LLC, an indirect Venator subsidiary,

maintains offices in The Woodlands, Texas.

        C.     Individual Defendants

        20.    Defendant Simon Turner (“Turner”) was, at all relevant times, the Company’s

President, Chief Executive Officer, and a Company director.

        21.    Defendant Kurt D. Ogden (“Ogden”) was, at all relevant times, the Company’s

Executive Vice President and Chief Financial Officer.

        22.    Defendant Stephen Ibbotson (“Ibbotson”) was, at all relevant times, the Company’s

Vice President and Corporate Controller.

        23.    Defendant Russ R. Stolle (“Stolle”) was, at all relevant times, the Company’s

Executive Vice President, Chief Compliance Officer, and General Counsel.




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       24.       Defendants Turner, Ogden, Ibbotson, and Stolle are referred to herein as the

“Officer Defendants.”

       25.       The Officer Defendants, because of their positions with the Company, possessed

the power and authority to control the contents of Venator’s reports to the SEC, press releases and

presentations to securities analysts, money and portfolio managers, and institutional investors, i.e.,

the market. Each Officer Defendant was provided with copies of the Company’s reports and press

releases alleged herein to be misleading prior to, or shortly after, their issuance and had the ability

and opportunity to prevent their issuance or cause them to be corrected. Because of their positions

and access to material non-public information available to them, each of the Officer Defendants

knew that the adverse facts specified herein had not been disclosed to, and/or were being concealed

from, the public, and that the positive representations that were being made were then materially

false and misleading.

       26.       Defendant Venator is liable for the acts of the Officer Defendants and its employees

under the doctrine of respondeat superior and common law principles of agency, as all of the

wrongful acts complained of herein were carried out within the scope of their employment with

authorization.

       27.       The scienter of the Officer Defendants and other employees and agents of the

Company is similarly imputed to Venator under the doctrine of respondeat superior and agency

principles.

       28.       Defendant Peter R. Huntsman was, at all relevant times, a Company Director, and

signed the false and misleading Offerings Documents.

       29.       Defendant Sir Robert J. Margetts (“Margetts”) was, at all relevant times, a

Company Director, and signed the false and misleading Offerings Documents.




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         30.   Defendant Douglas D. Anderson (“Anderson”) was appointed as a Company

Director on August 2, 2017, and signed the false and misleading SPO Documents.

         31.   Defendant Daniele Ferrari (“Ferrari”) was appointed as a Company Director on

August 2, 2017, and signed the false and misleading SPO Documents.

         32.   Defendant Kathy D. Patrick (“Patrick”) was appointed as a Company Director on

October 1, 2017, and signed the false and misleading SPO Documents.

         33.   Peter R. Huntsman, Margetts, Anderson, Ferrari, and Patrick are referred to herein

as the “Director Defendants.”

         34.   Defendants Turner, Ogden, Ibbotson, Stolle, Peter R. Huntsman, Margetts,

Anderson, Ferrari, and Patrick are referred to herein as the “Individual Defendants.”

         D.    Shareholder Defendants

         35.   Defendant Huntsman is an international manufacturer and seller of chemicals and

chemical products, and was the parent company of Venator prior to the IPO. Huntsman is a

Delaware corporation, with principal executive offices located at 10003 Woodloch Forest Drive,

The Woodlands, Texas 77380.

         36.   Defendant Huntsman International LLC (“Huntsman International”) is a wholly-

owned subsidiary of Huntsman. Huntsman International is a Delaware corporation, and also

maintains principal executive offices at 10003 Woodloch Forest Drive, The Woodlands, Texas

77380.

         37.   Defendant Huntsman (Holdings) Netherlands B.V. (“Huntsman Holdings”) is a

wholly-owned subsidiary of Huntsman.

         38.   Defendants Huntsman, Huntsman International, and Huntsman Holdings are

collectively referred to herein as the “Shareholder Defendants.” The Shareholder Defendants

beneficially owned all of Venator’s ordinary shares prior to the IPO, and controlled the Company’s


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business and operations prior to, during, and immediately after the Offerings. The Shareholder

Defendants also appointed Venator’s Board of Directors and selected its executive management

prior to the IPO.

       E.         Underwriter Defendants

       39.        Defendant Goldman Sachs & Co. LLC is a financial services company that acted

as an underwriter of Venator’s Offerings.

       40.        Defendant J.P. Morgan Securities LLC is a financial services company that acted

as an underwriter of Venator’s Offerings.

       41.        Defendant Merrill Lynch, Pierce, Fenner & Smith Incorporated is a financial

services company that acted as an underwriter of Venator’s Offerings.

       42.        Defendant Citigroup Global Markets Inc. is a financial services company that acted

as an underwriter of Venator’s Offerings.

       43.        Defendants named in paragraphs 39–42 are referred to herein as the “Underwriter

Defendants.”

       44.        The Underwriter Defendants are investment banks that specialize in, inter alia¸ the

underwriting of public securities offerings. Collectively, as underwriters of the Offerings, the

Underwriter Defendants reaped millions in commissions.

       45.        The Underwriter Defendants also secured an agreement from Venator that the

Company would indemnify and hold harmless the Underwriter Defendants from liability under the

Securities Act.

       46.        The Underwriter Defendants, through their representatives and agents, represented

that they had conducted reasonable due diligence into the operations and business of the Company.

       47.        The Underwriter Defendants caused the registration statements for the IPO and

SPO to be filed with the SEC and declared effective.


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       48.      Venator, the Individual Defendants, the Shareholder Defendants, and the

Underwriter Defendants are collectively referred to herein as “Defendants.”

IV.    SUBSTANTIVE ALLEGATIONS

       A.       Background

       49.      Venator, a United Kingdom corporation headquartered in Stockton-On-Tees,

United Kingdom, is a global chemical company primarily focused on the development and

production of TiO2, an opaque mineral used to enhance whiteness, opacity, and brightness in

thousands of manufactured items, and performance additives, including functional additives, color

pigments, timber treatments, and water treatments. TiO2 is used in a diverse range of industries,

and is found in a range of products including foods, fibers, papers, coatings, and polymers.

       50.      Prior to its spinoff from Huntsman in the IPO, Venator operated a major TiO2

manufacturing facility in Pori, Finland. The Facility was capable of producing up to 130,000

metric tons of TiO2 annually—representing approximately 17% of the Company’s total TiO2

production capacity and an amount equivalent to approximately 2% of the global demand for TiO2.

       51.      The Facility was material to Venator’s operations, with one UBS Securities analyst

later suggesting that the Facility’s TiO2 production value would have accounted for 24% of the

Company’s income during 2017.

       52.      A massive fire engulfed the Facility on January 30, 2017, resulting in significant

structural damage. The Fire was one of the largest in Finnish history, and, according to media

reports, left the building’s walls smoldering for at least a week after the initial blaze was

extinguished.

       53.      Huntsman assured the public that the Fire had been extinguished “quickly” and that

the Facility had sufficient insurance coverage limits to cover both “property damage as well as




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earnings losses.” Huntsman also told investors at the time that it was “committed to repairing the

[F]acility as quickly as possible.”

       B.      Defendants’ False and Misleading Statements

       54.     The Class Period begins on August 2, 2017, when the SEC declared the Company’s

IPO registration statement effective.

       55.     Venator completed its IPO on or about August 3, 2017, raising approximately $522

million in gross proceeds from investors by selling more than 26 million Venator ordinary shares

at a price of $20.00 per share. On August 4, 2017, Defendants filed the final prospectus for the

IPO, which forms part of the IPO Documents, with the SEC on Form 424B4. As set forth below,

Venator offered, sold, and/or solicited sales of Venator ordinary shares in connection with the IPO.

       56.     The IPO Documents contained misleading statements of material fact, and omitted

material facts required by governing regulations and which were necessary to make statements in

the IPO Documents not misleading.

       57.     Notwithstanding the importance of the Facility to Venator’s operations, the IPO

Documents downplayed the extent of the damage caused by the Fire. Specifically, the IPO

Documents assured investors that Venator was “committed to repairing the [F]acility as quickly

as possible” and that the Company expected a gradual return to functionality, with the Facility

being restored to “approximately 40% capacity in the second quarter of 2018; and full capacity

around the end of 2018.” The IPO Documents also stated that the Facility would be repaired with

insurance proceeds and within insurance policy limits.

       58.     The IPO Documents further reported that the Company did not expect the cost of

repairing the damage or the Facility’s diminished output capacity to have “a material impact on

our second quarter Segment Adjusted EBITDA as related losses have been offset by the proceeds

of business interruption insurance.”


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         59.   Defendants also claimed that the Company was “well-positioned to capitalize on

recovering TiO2 demand and prices” due to the Company’s claimed production capacity of

782,000 metric tons of TiO2. Defendants reported that this claimed production capacity gave the

Company a “leading position in differentiated markets.” However, Defendants concealed that this

production capacity figure was only accurate with the Facility operating at its full capacity.

         60.   Moreover, in the IPO Documents, the Company only identified as a “Risk Factor[]”

the possibility that the Company’s earnings could be harmed “if the [insurance] proceeds do not

fully cover our [losses].”

         61.   Pursuant to Item 303 of SEC Regulation S-K and the SEC’s related interpretive

releases thereto, an issuer is required to disclose “any known trends or uncertainties that have had

or that the registrant reasonably expects will have a material favorable or unfavorable impact on

net sales or revenues or income from continuing operations.” 17 C.F.R. § 229.303(a)(3)(ii). Such

disclosures are required to be made by an issuing company in registration statements filed in

connection with public offerings.

         62.   The IPO Documents failed to disclose material information about known trends and

uncertainties pursuant to Item 303. As alleged herein, the IPO Documents failed to disclose that

the damage to the Facility significantly reduced the Company’s TiO2 production capacity, would

result in mounting lost-business losses, and would affect the Company’s earnings and market

share.

         63.   Pursuant to Item 3 of Form S-1, the IPO Documents were required to furnish the

information required by Item 503 of Regulation S-K, which requires the registrant to disclose,

among other things, a “discussion of the most significant factors that make the offering speculative

or risky.” 17 C.F.R. § 229.503(c). Item 503 also required that Defendants “[e]xplain how the risk




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affects the issuer or the securities being offered.” However, the IPO Documents failed to disclose

information regarding material risks pursuant to Item 503.

       64.       As a result, the Defendants had a duty to disclose these currently known, adverse

factors, listed in paragraph 12 above. Defendants failed to disclose the nature and magnitude of

Venator’s risk from the damage to the Facility, and gave no meaningful indications of the

Company’s real vulnerability to uninsured losses and the likelihood that the Facility was beyond

repair. Because the IPO Documents failed to make the requisite disclosures, Defendants violated

Item 503.

       65.       On August 28, 2017, the Company filed its financial results for the quarter ended

June 30, 2017, with the SEC on Form 10-Q. The Form 10-Q was signed by Defendants Ibbotson

and Ogden, and also included certifications signed by Defendants Ogden and Turner, as required

by the Sarbanes Oxley Act of 2002. Accordingly, Defendants Ogden and Turner certified, among

other things, that: (1) each reviewed the Form 10-Q; (2) to the best of their knowledge the Form

10-Q did not “contain any untrue statement of a material fact or omit to state a material fact

necessary to make the statements made, in light of the circumstances under which such statements

were made, not misleading”; and (3) the Form 10-Q “fairly present[ed] in all material respects the

financial condition, results of operations, and cash flows of” Venator.

       66.       The August 28, 2017 Form 10-Q also included material misrepresentations about

the condition of the Facility and the impact of the damage caused by the Fire. Among other things,

Defendants restated Venator’s commitment to “repair[] the [F]acility as quickly as possible” and

reiterated that the Facility would be repaired with insurance proceeds and within the insurance

policy limits.




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       67.     On September 6, 2017, the Company gave a presentation at the UBS Global

Chemicals & Paper and Packaging Conference held in New York, New York.                    Venator’s

presentation, which was also posted to the Company’s web page, restated that the Facility was

expected to be restored to its full operational capacity by the fourth quarter of 2018.

       68.     On October 27, 2017, the Company issued a press release disclosing its financial

results for the quarter ended September 30, 2017. Therein, the Defendants revealed for the first

time that the costs associated with the Fire would likely exceed limits of the Facility’s insurance

policy by a range of $100 million to $150 million. However, Defendants claimed that these excess

amounts represented escalating lost profits attributable to a strong market and increasing prices for

TiO2, as opposed to increasing repair costs.

       69.     On the Company’s earnings call with investors and analysts later that day,

Defendants revealed that the more profitable parts of the Facility, which produced “specialty”

products, would be repaired by the end of 2018. When asked by analysts about repairing the

remainder of the Facility, Defendant Turner stated that “we’re not saying it’s going to be delayed”

and that the Company was not conceding that “we won’t do it.” Separately, addressing the rapidly

escalating loss totals attributed to the Fire, Defendant Ogden reassured investors that the limits of

the Facility’s $500 million insurance policy were “more than enough to cover the rebuild on its

own,” but that, due to positive trends in TiO2 market conditions, the insurance policy was no longer

enough to cover lost profits.

       70.     Then, on November 3, 2017, the Company filed its financial results for the quarter

ended September 30, 2017, with the SEC on Form 10-Q. The Form 10-Q was signed by

Defendants Ibbotson and Ogden, and included certifications signed by Defendants Ogden and

Turner that the Form 10-Q was accurate and complete.




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       71.     In the November 3, 2017 Form 10-Q, Defendants stated that while the Facility was

“currently not fully operational,” the Company “continue[d] to repair the [F]acility.”

       72.     Venator filed a registration statement for its SPO with the SEC on November 27,

2017, which was declared effective by the SEC on November 29, 2017. On December 4, 2017,

the Company completed its SPO, selling more than 23.7 million ordinary shares and generating

$533 million in gross proceeds.

       73.     The SPO Documents contained misleading statements of material fact, and omitted

material facts required by governing regulations and necessary to make statements in the SPO

Documents not misleading. Specifically, the SPO Documents restated previous misleading

statements that the Facility would be repaired, again stating that while the Facility was still

“currently not fully operational,” the Company “continue[d] to repair the [F]acility.” Defendants

also reiterated that the more profitable “specialty”-product-producing parts of the Facility would

be repaired by the fourth quarter of 2018.

       74.     Separately, the SPO Documents claimed that the Company was “well-positioned to

capitalize” on the growth opportunities in the TiO2 market, including recovering demand and

prices, due to the Company’s claimed production capacity of 782,000 metric tons of TiO2.

However, Defendants again failed to disclose that this production capacity figure was only

accurate with the Facility operating at its full capacity, and that, given the current state of the

Facility, this figure was overstated by as much as 15%. Defendants falsely portrayed Venator as

the “leader in the specialty TiO2 industry segment,” basing this portrayal on its inflated claims of

the Company’s production capacity.

       75.     Pursuant to Item 303 and the SEC’s related interpretive releases thereto, an issuer

is required to disclose “any known trends or uncertainties that have had or that the registrant




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reasonably expects will have a material favorable or unfavorable impact on net sales or revenues

or income from continuing operations.” 17 C.F.R. § 229.303(a)(3)(ii). Such disclosures are

required to be made by an issuing company in registration statements filed in connection with

public offerings.

       76.      The SPO Documents failed to disclose material information about known trends

and uncertainties pursuant to Item 303. As alleged herein, the SPO Documents failed to disclose

that the damage to the Facility significantly reduced the Company’s TiO2 production capacity,

would result in mounting lost-business losses, and would affect the Company’s earnings and

market share.

       77.      Pursuant to Item 3 of Form S-1, the SPO Documents were required to furnish the

information required by Item 503 of Regulation S-K, which requires the registrant to disclose,

among other things, a “discussion of the most significant factors that make the offering speculative

or risky.” 17 C.F.R. § 229.503(c). Item 503 also required that Defendants “[e]xplain how the risk

affects the issuer or the securities being offered.” However, the SPO Documents failed to disclose

information regarding material risks pursuant to Item 503.

       78.      As a result, the Defendants had a duty to disclose these currently-known, adverse

factors, listed in paragraph 12 above. Defendants failed to disclose the nature and magnitude of

Venator’s risk from the damage to the Facility, and gave no meaningful indications of the

Company’s real vulnerability to uninsured losses and the likelihood that the Facility was beyond

repair. Because the SPO Documents failed to make the requisite disclosures, Defendants violated

Item 503.

       79.      On February 23, 2018, the Company filed its annual report for the year ended

December 31, 2017, with the SEC on Form 10-K (the “2017 Annual Report”). The 2017 Annual




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Report was signed by Defendants Turner, Ibbotson, and Ogden, and included certifications signed

by Defendants Ogden and Turner that the 2017 Annual Report was accurate and complete.

       80.     The 2017 Annual Report, as well as the accompanying press release, continued to

mislead investors about the irreparability of the Facility and the resulting impact on Venator’s

business. For example, in the press release, Defendant Turner assured investors that Venator

“remain[ed] on schedule to restore our specialty business capacity, and ultimately full operation

of the remaining capacity” at the Facility. Defendants admitted that the losses associated with the

Fire were now expected to exceed the limits of the Facility’s insurance policy by as much as $375

million, and revealed that the Company was now “paying a fast-track premium” to accelerate the

repair of the more-profitable specialty segments. However, Defendants continued to claim that

these escalating losses primarily represented additional lost profits, as opposed to increasing repair

and reconstruction costs. Defendants also continued to espouse that the Company’s intent was to

“restore manufacturing of the balance of these more profitable specialty products by the end of

2018,” and to eventually repair the rest of the Facility. For example, Defendant Turner remarked

that “despite significant rebuild cost escalation, we remain on schedule to restore our specialty

business capacity, and ultimately full operation” at the Facility.

       81.     On the Company’s earnings call with analysts and investors that same day,

Defendant Turner reiterated that the “[c]onstruction on the rebuild of the specialty products portion

of the [F]acility” was on pace to be completed in 2018.

       82.     On May 1, 2018, the Company filed its financial results for the quarter ended

March 31, 2018, with the SEC on Form 10-Q. The Form 10-Q was signed by Defendants Ibbotson

and Ogden, and included certifications signed by Defendants Ogden and Turner that the Form 10-

Q was accurate and complete. In the Form 10-Q, the Company and the Officer Defendants made




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misleading representations that the Company expected “some of this specialty capacity to be

producing finished product during the second half of [2018] and the remaining specialty capacity

to be restored and producing finished product during 2019.” The Form 10-Q also stated that the

Company expected to eventually rebuild the “commodity portion of the [F]acility” by 2020.

        83.     On the Company’s earnings call with investors that same day, Defendant Turner

assured investors that the Company had “confidence” that the total Fire-related losses not covered

by the Facility’s insurance policy would fall within the range of $325 million to $375 million.

        84.    The statements set forth above in paragraphs 54–83 were materially false and

misleading. Specifically, Defendants failed to disclose that: (1) the Fire was far more damaging

to the Facility than had been represented to investors, resulting in over $1 billion in damage and

rendering the Facility beyond repair; (2) the damage to the Facility exceeded the Company’s

insurance policy limits by hundreds of millions of dollars; (3) the Company had lost, with

essentially no hope of restoration, approximately 80% of the Facility’s TiO2 production capacity;

(4) the Company incurred tens of millions of dollars in costs in connection with attempts to repair

the Facility; (5) the Company’s reported annual TiO2 production capacity was inflated by

approximately 15%; and (6) as a result, the Company would incur over $600 million in

restructuring expenses and other charges associated with the closure and replacement of the

Facility.

        C.     The Truth Begins to Emerge

        85.    Investors began to learn the truth of the Company’s misleading statements through

a series of disclosures. For example, on July 31, 2018, the Company issued a press release

revealing that the Facility was much more severely damaged by the Fire than had previously been

disclosed. Defendants admitted that “a full rebuild and commissioning may require more self-

funding than [the Company’s] previous estimate of $325 to $375 million.” The press release also


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stated that the Company was “reviewing options within our manufacturing network, including the

option of transferring the production of [the Facility’s] specialty and differentiated products to

elsewhere in our network.” On this news, the price of Company shares declined $0.73 per share,

or approximately 4.8%, from a close of $15.35 per share on July 30, 2018, to close at $14.62 per

share on July 31, 2018.

       86.     However, Defendants continued to mislead investors about the true impact of the

Fire on Venator’s business and prospects, as Defendant Turner reassured investors in the

Company’s July 31, 2017 press release that the Company was still “well positioned to capitalize

on the positive trends” in the profitability of the TiO2 industry.

       87.     Then, on September 12, 2018, the Company informed investors that it was now

abandoning its attempts to repair the Facility, as production capacity at the Facility had not

meaningfully improved since the Offerings. The Company admitted in its Pori Strategic Review

Update published that day that the “[e]stimated cost of the full reconstruction of [the Facility] is

not economically viable” for the Company. In addition to being unable to repair the Facility,

Venator announced that it would incur up to $150 million in additional costs to close the facility.

Defendants also admitted that, due to the decreased production capacity caused by the damage to

the Facility, Venator was no longer a leading producer of TiO2. On this news, the price of

Company shares declined $0.54 per share, or approximately 4.8%, from a close of $11.35 per share

on September 11, 2018, to close at $10.81 per share on September 12, 2018.

       88.     Then, on October 30, 2018, the Company disclosed that, in addition to more than

$500 million in Fire-related costs and lost business covered by the Company’s insurance policy,

the Company incurred an additional restructuring charge of approximately $415 million and would

incur further additional charges of $220 million through 2024 related to the closure of the Facility.




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On this news, the Company’s share price declined $1.53 per share, or 19%, from a close of $8.00

per share on October 29, 2018, to close at $6.47 per share on October 30, 2018.

V.     PLAINTIFF’S CLASS ACTION ALLEGATIONS

       89.      Plaintiff brings this action as a class action under Rule 23 of the Federal Rules of

Civil Procedure on behalf of all persons who purchased Venator ordinary shares during the Class

Period, pursuant or traceable to the IPO, and/or pursuant or traceable to the SPO (the “Class”).

Excluded from the Class are Defendants, their agents, directors and officers of Venator and

Huntsman, and their families and affiliates.

       90.      The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial benefits to

the parties and the Court. According to the Company’s Form 10-K filed with the SEC on February

20, 2019, the Company had over 106 million ordinary shares outstanding, owned by thousands of

persons.

       91.      There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class that

predominate over questions that may affect individual Class members include:

             a. Whether Venator, the Officer Defendants, and the Shareholder Defendants violated

                the Exchange Act;

             b. Whether Defendants violated the Securities Act;

             c. Whether Defendants omitted and/or misrepresented material facts;

             d. Whether Defendants’ statements omitted material facts necessary in order to make

                the statements made, in light of the circumstances under which they were made, not

                misleading;




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             e. Whether Venator or the Officer Defendants knew or recklessly disregarded that

                their statements were false and misleading;

             f. Whether the price of Venator ordinary shares was artificially inflated; and

             g. The extent of damage sustained by the Class members and the appropriate measure

                of damages.

       92.      Plaintiff’s claims are typical of those of the Class because Plaintiff and the Class

sustained damages from Defendants’ wrongful conduct.

       93.      Plaintiff will adequately protect the interests of the Class and has retained counsel

who are experienced in class action securities litigation. Plaintiff has no interests that conflict with

those of the Class.

       94.      A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

VI.    APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD-ON-THE-
       MARKET DOCTRINE

       95.      Plaintiff will rely upon the presumption of reliance establish by the fraud-on-the-

market doctrine in that, among other things:

             a. Defendants made public misrepresentations or failed to disclose material facts

                during the Class Period;

             b. The omissions and misrepresentations were material;

             c. The Company’s ordinary shares traded in an efficient market;

             d. The misrepresentations alleged would tend to induce a reasonable investor to

                misjudge the value of the Company’s ordinary shares; and

             e. Plaintiff and other members of the Class purchased Venator ordinary shares

                between the time Defendants misrepresented or failed to disclose material facts and



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               the time the true facts were disclosed, without knowledge of the misrepresented or

               omitted facts.

        96.    At all relevant times the market for Venator ordinary shares was efficient for the

following reasons, among others: (1) as a regulated issuer, Venator filed periodic public reports

with the SEC; and (2) Venator regularly communicated with public investors via established

market communication mechanisms, including through regular disseminations of press releases on

the major news wire services and through other wide-ranging public disclosures, such as

communications with the financial press, securities analysts, and other similar reporting services.

VII.    NO SAFE HARBOR

        97.    Defendants’ “Safe Harbor” warnings accompanying any forward-looking

statements issued during the Class Period were ineffective to shield those statements from liability.

Defendants are also liable for any false or misleading forward-looking statements pleaded because,

at the time each forward-looking statement was made, the speaker knew the forward-looking

statement was false or misleading and the forward-looking statement was authorized and/or

approved by an executive officer of Venator who knew that the forward-looking statement was

false. None of the historic or present-tense statements made by Defendants were assumptions

underlying or relating to any plan, projection, or statement of future economic performance, as

they were not stated to be such assumptions underlying or relating to any projection or statement

of future economic performance when made, nor were any of the projections or forecasts made by

Defendants expressly related to or stated to be dependent on those historic or present-tense

statements when made.

VIII. LOSS CAUSATION/ECONOMIC LOSS

        98.    Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class. The price of Venator ordinary shares


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significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses. It was also foreseeable that the disclosure of this information, and the

materialization of concealed risks associated with Defendants’ misconduct, would cause the price

of Venator ordinary shares to decline as the inflation caused by Defendants’ earlier

misrepresentations and omissions was removed from the price of Venator ordinary shares. As a

result of their purchases of Venator ordinary shares during the Class Period, Plaintiff and other

members of the Class suffered economic loss, i.e. damages, under the federal securities laws.

IX.     SCIENTER ALLEGATIONS

        99.     During the Class Period, Venator and the Officer Defendants had both the motive

and opportunity to commit fraud. They also had actual knowledge of the misleading nature of the

statements they made or acted in reckless disregard of the true information known to them at the

time. In so doing, Venator and the Officer Defendants participated in a scheme to defraud and

committed acts, practices, and participated in a course of business that operated as a fraud or deceit

on purchasers of Venator ordinary shares during the Class Period.

X.      CLAIMS AGAINST DEFENDANTS

        A.      EXCHANGE ACT CLAIMS

                                             COUNT I

                       Violation of Section 10(b) of the Exchange Act and
                              Rule 10b-5 Promulgated Thereunder
                          against Venator and the Officer Defendants

        100.    Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        101.    During the Class Period, Venator and the Officer Defendants carried out a plan,

scheme, and course of conduct that was intended to and, throughout the Class Period, did:



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(1) deceive the investing public, including Plaintiff and other members of the Class, as alleged

herein; and (2) cause Plaintiff and other members of the Class to purchase Venator ordinary shares

at artificially inflated prices. In furtherance of this unlawful scheme, plan, and course of conduct,

these Defendants took the actions set forth herein.

        102.    Venator and the Officer Defendants: (1) employed devices, schemes, and artifices

to defraud; (2) made untrue statements of material fact and/or omitted material facts necessary to

make the statements not misleading; and (3) engaged in acts, practices, and a course of business

that operated as a fraud and deceit upon the purchasers of the Company’s ordinary shares in an

effort to maintain artificially high market prices thereof, in violation of Section 10(b) of the

Exchange Act and Rule 10b-5.

                                            COUNT II

                         Violation of Section 20(a) of the Exchange Act
                against the Officer Defendants and the Shareholder Defendants

        103.    Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        104.    The Officer Defendants and the Shareholder Defendants acted as controlling

persons of Venator within the meaning of Section 20(a) of the Exchange Act as alleged herein. By

virtue of their high-level positions, and their ownership and contractual rights, participation in

and/or awareness of the Company’s operations, and/or intimate knowledge of the false financial

statements filed by the Company with the SEC and disseminated to the investing public, the Officer

Defendants and the Shareholder Defendants had the power to influence and control and did

influence and control, directly or indirectly, the decision-making of the Company, including the

content and dissemination of the various statements which Plaintiff contends are false and

misleading. The Officer Defendants and the Shareholder Defendants were provided with or had



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unlimited access to copies of the Company’s reports, press releases, public filings, and other

statements alleged by Plaintiff to be misleading prior to and/or shortly after these statements were

issued and had the ability to prevent the issuance of the statements or cause the statements to be

corrected.

       105.    As set forth above, Venator and the Officer Defendants each violated Section 10(b)

and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their

positions as controlling persons, the Officer Defendants and the Shareholder Defendants are liable

pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of this wrongful

conduct, Plaintiff and other members of the Class suffered damages in connection with their

purchases of Venator ordinary shares during the Class Period.

       B.      SECURITIES ACT CLAIMS

       106.    Plaintiff brings the claims in Counts III, IV, and V under Sections 11, 12(a)(2), and

15 of the Securities Act, respectively, individually and on behalf of all persons and entities who

purchased Venator ordinary shares pursuant or traceable to the materially false and misleading

Offerings Documents, and were damaged thereby.

       107.    Plaintiff’s non-fraud claims brought under the Securities Act are based on the fact

that the Offerings Documents contained untrue statements of material fact and omitted other facts

necessary to make statements therein not materially false or misleading.          Specifically, the

Offerings Documents contained untrue statements of material fact and omitted material facts

because they failed to disclose that: (1) the Fire was far more damaging to the Facility than had

been represented to investors, resulting in over $1 billion in damage and rendering the Facility

beyond repair; (2) the damage to the Facility exceeded the Company’s insurance policy limits by

hundreds of millions of dollars; (3) the Company had lost, with essentially no hope of restoration,

approximately 80% of the Facility’s TiO2 production capacity; (4) the Company incurred tens of


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millions of dollars in costs in connection with attempts to repair the Facility; (5) the Company’s

reported annual TiO2 production capacity was inflated by approximately 15%; and (6) as a result,

the Company would incur over $600 million in restructuring expenses and other charges associated

with the closure and replacement of the Facility.

                                            COUNT III

                           Violation of Section 11 of the Securities Act
                                     against All Defendants

       108.    Plaintiffs incorporate paragraphs 1–97 and paragraphs 106–07 by reference.

       109.    This claim is premised on the remedies available under Section 11 of the Securities

Act, 15 U.S.C. § 77k, and expressly excludes and disclaims any allegation that Defendants acted

with fraudulent intent or recklessness.

       110.    The Offerings Documents contained untrue statements of material fact, omitted to

state other facts necessary to make the statements made therein not misleading, and/or omitted

facts required to be stated therein.

       111.    Each of Defendants named herein is responsible for and are liable for the contents

and dissemination of the Offerings Documents.

       112.    Defendants Turner, Ogden, Ibbotson, Stolle, Peter R. Huntsman, and Margetts

signed the IPO Documents and caused them to be declared effective by the SEC on or about

August 2, 2017.

       113.    The Individual Defendants each signed the SPO Documents and caused them to be

declared effective by the SEC on or about November 29, 2017.

       114.    Venator is the registrant for the Offerings and as issuer of the shares is strictly liable

to Plaintiff and the Class for the misstatements and omissions.




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          115.    The Underwriter Defendants underwrote the Offerings and their failure to conduct

an adequate due diligence investigation was a substantial factor leading to the harm complained of

herein.

          116.    Defendants caused the Offerings Documents to be filed with the SEC and to be

declared effective, resulting in the aggregate issuance and sale of over 51 million ordinary shares,

which were purchased by Plaintiff and the Class.

          117.    None of the Defendants made a reasonable investigation or possessed reasonable

grounds for the belief that the statements contained in the Offerings Documents were true and did

not omit any material facts required to be stated therein or facts that were necessary to make the

statements made therein not false or misleading.

          118.    By reason of the conduct herein alleged, each Defendant violated Section 11 of the

Securities Act.

                                             COUNT IV

                         Violation of Section 12(a)(2) of the Securities Act
                               against the Underwriter Defendants

          119.    Plaintiffs incorporate paragraphs 1–97 and paragraphs 106–07 by reference.

          120.    This claim is premised on the remedies available under Section 12(a)(2) of the

Securities Act, 15 U.S.C. § 77l(a)(2), and expressly excludes and disclaims any allegation that

Defendants acted with fraudulent intent or recklessness.

          121.    The Underwriter Defendants were sellers of Venator ordinary shares that were

registered in the Offerings pursuant to the Offerings Documents. By means of the Offerings

Documents, the Underwriter Defendants sold, offered, and/or solicited sales of Venator ordinary

shares sold in the offerings. The Underwriter Defendants were motivated by their own financial

interests at all relevant times.



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       122.    None of the Underwriter Defendants conducted a reasonable investigation or

possessed a reasonable basis for the belief that the statements contained in the Offerings

Documents, and identified above, were true, were without omissions of material fact, and were not

misleading.

       123.    The Offerings Documents contained untrue statements of material fact, omitted to

state other facts necessary to make the statements made therein not misleading, and/or omitted

facts required to be stated therein.

       124.    By reason of the conduct herein alleged, each Underwriter Defendant violated

Section 12(a)(2) of the Securities Act.

                                            COUNT V

                          Violation of Section 15 of the Securities Act
              against the Individual Defendants and the Shareholder Defendants

       125.    Plaintiffs incorporate paragraphs 1–97 and paragraphs 106–07 by reference.

       126.    This claim is premised on the remedies available under Section 15 of the Securities

Act, 15 U.S.C. § 77o, and expressly excludes and disclaims any allegation that Defendants acted

with fraudulent intent or recklessness.

       127.    Each of the Individual Defendants and the Shareholder Defendants was a control

person of Venator by virtue of its position as a director, senior officer, or controlling shareholder

with the Company.

       128.    The Shareholder Defendants and Defendants Turner, Ogden, Ibbotson, Stolle, Peter

R. Huntsman, and Margetts oversaw all operations and financial controls at Venator at the time of

the IPO, and Venator could not have completed the IPO without these Defendants signing or

authorizing their signatures on the IPO Documents.




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       129.   The Individual Defendants and the Shareholder Defendants each oversaw all

operations and financial controls at Venator at the time of the SPO, and Venator could not have

completed the SPO without the Individual Defendants and Shareholder Defendants signing or

authorizing their signatures on the SPO Documents.

       130.   By reason of the conduct herein alleged, each Individual Defendant and

Shareholder Defendant violated Section 15 of the Securities Act.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a.      Determining that this action is a proper class action under Rule 23 of the

                      Federal Rules of Civil Procedure;

              b.      Awarding compensatory damages and equitable relief in favor of Plaintiff

                      and other members of the Class against all Defendants, jointly and severally,

                      for all damages caused by Defendants’ wrongdoing, in an amount to be

                      proven at trial, including interest thereon;

              c.      Awarding Plaintiff and the Class their reasonable costs and expenses

                      incurred in this action, including counsel fees and expert fees; and

              d.      Such other and further relief as the Court may deem just and proper.

XI.    JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

Dated: September 13, 2019                           Respectfully Submitted,

                                                    AJAMIE LLP

                                                    s/ Thomas R. Ajamie
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